         Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant,                        , is a Special Agent assigned to FBI Columbia Field
Office. Your affiant has been a Special Agent for the FBI since January 2018. Your affiant is
currently assigned to the FBI Columbia’s Joint Terrorism Task Force (JTTF), which includes
federal agents, as well as state and local officers, investigating threats and illegal activity against
the United States in the Columbia, South Carolina area. Your affiant has participated in many types
of investigations, including but not limited to: Domestic/International Terrorism, Financial
Crimes, Violent Crime, and Gang/Drug Federal violations. Currently, your affiant is tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, your affiant is authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
         Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 2 of 8




President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Facts Specific to PRASER-FAIR

        On January 8, 2021, CHRISTINA MARIE PRASER-FAIR gave an interview to a local
television station (WLTX). In the WLTX segment title “Midlands Locals Who Went to the D.C.
Protests Return Home,” PRASER-FAIR admitted to traveling to Washington, D.C. on January 6,
2021, but denied entering the United States Capitol Building, stating, “It was insane . . . We
marched to the Capitol . . . I was very close to the entrances.” PRASER-FAIR admitted to hearing
chanting, “Yelling things like ‘U.S.A.’” She further stated, “We got to the Capitol building. There
were already a ton of people there. Everyone was just chanting, trying to get closer to the building
. . . We were right next to the scaffolding.” Image 1, below, is a screenshot from the WLTX
segment:




                                              Image 1
Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 3 of 8
           Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 4 of 8




       Surveillence (CCTV) Video of PRASER-FAIR Inside the U.S. Capitol Building

        Although PRASER-FAIR told reporters in Columbia, South Carolina that she “was very
close to the entrances” of the U.S. Capitol on January 6, 2021, a comprehensive review of
surveillance / closed-caption television (CCTV) video captured on January 6, 2021 from inside the
U.S. Capitol building revealed PRASER-FAIR and her son, a minor, on 17 different cameras
inside the building. PRASER-FAIR entered the U.S. Capitol building at approximately 2:22 p.m.
and exited at approximately 2:49 p.m. PRASER-FAIR’s approximate path of travel is as follows:

       •       Initial entrance through Senate Wing Doors (2:22 p.m.).
       •       Entered and crossed the Crypt.
       •       Passed through the 1st floor Memorial Door and ascended to the 2nd floor.
       •       Walked through multiple office hallways on the 2nd floor.
       •       Entered and crossed the Rotunda.
       •       Passed through the Statuary Hall toward the House of Representatives.
       •       Walked through multiple hallways outside the House of Representatives.
       •       Passed through the Statuary Hall toward the Rotunda.
       •       Entered and crossed the Rotunda a second time.
       •       Exited through the 2nd floor Rotunda Door (2:49 p.m.).

        Images 3-9, below, are screenshots from the CCTV reviewed by the FBI during the
investigation:




                     Image 3 (Initial Entry, Senate Wing Doors, 2:22 p.m.)
Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 5 of 8




                 Image 4 (2nd Floor Office Hallway)




                        Image 5 (Rotunda)
Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 6 of 8




          Image 6 (Entrance to the House of Representatives)




             Image 7 (House of Representatives Hallway)
        Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 7 of 8




                                 Image 8 (Statuary Hall)




                   Image 9 (Exit Via 2nd Floor Rotunda Door, 2:49 p.m.)

        On April 11, 2024, witness-1, a person who is closely acquainted with PRASER-FAIR,
viewed screenshots of PRASER-FAIR inside the U.S. Capitol building on January 6, 2021, and
positively identified PRASER-FAIR as the individual in the screenshots.
         Case 1:24-mj-00264-MAU Document 1-1 Filed 08/21/24 Page 8 of 8




                                        CONCLUSION

        Based on the foregoing, your affiant submits that there is probable cause to believe that
CHRISTINA MARIE PRASER-FAIR violated 18 U.S.C. § 1752(a)(l) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or dismpt the orderly conduct of
Government business or official functions, engage in disorderly or dismptive conduct in, or within
such proximity to, any resti·icted building or grounds when, or so that, such conduct, in fact,
impedes or dismpts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For pmposes of Section 1752 of Title 18, a "resti·icted building" includes a
posted, cordoned off, or othe1wise resti·icted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

       Your affiant submits there is also probable cause to believe that CHRISTINA MARIE
PRASER-FAIR violated 40 U.S.C. § 5104(e)(2)(D), (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disrnptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
dismpt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonsti·ate, or picket in any of the Capitol
Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 21 day of August 2024.



                                              MOXILA A. UPADHYAYA
                                              U.S. MAGISTRATE JUDGE
